                                   Case 2:20-cv-02291-DOC-KES Document 45-2 Filed 03/25/20 Page 1 of 9 Page ID #:477



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                                          Sean Rotstan (Bar No. 316041)
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                                          Rolling Hills Estates, CA 90274
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                                      6
                                          Attorneys for Proposed Amicus Curae
                                      7   VENICE STAKEHOLDERS
                                          ASSOCIATION
                                      8
                                      9                         UNITED STATES DISTRICT COURT
                                     10         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                     11
                                     12
                                          LA ALLIANCE FOR HUMAN                    )   Case No.: 20-CV-02291-DOC-KES
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                     13   RIGHTS, et al.                           )
                                                                                   )   DECLARATION OF JEFFREY
         Jeff Lewis Law




                                     14                Plaintiffs,                 )   LEWIS ON BEHALF OF PROPOSED
                                     15                                            )   AMICUS CURAE
                                                vs.                                )
                                     16                                            )   Date:
                                          CITY OF LOS ANGELES, et al.,             )   Time:
                                     17                                            )   Crtm:   1 (1st Street Federal Courthouse)
                                     18                Defendants.                 )
                                                                                   )   Hon. David O. Carter
                                     19                                                Courtroom 1
                                     20
                                                                                       Complaint Filed: March 10, 2020
                                     21
                                     22   I, Jeffrey Lewis, declare as follows:
                                     23         1.     I am counsel for proposed Amicus Curae Venice Stakeholders
                                     24   Association (“VSA.”)
                                     25         2.     I have personal knowledge of the truth and accuracy of the facts set
                                     26   forth herein, and if called upon as a witness, I could competently testify thereto. I
                                     27   do not intend to waive the attorney-client privilege or work product doctrine by
                                     28   making any statement herein.

                                                                            DECLARATION
                              Case 2:20-cv-02291-DOC-KES Document 45-2 Filed 03/25/20 Page 2 of 9 Page ID #:478



                                    1         3.      On March 25, 2020 at approximately 1:35 p.m., I caused to be served
                                    2   via email a letter to lead counsel for plaintiffs and defendants detailing VSA’s
                                    3   intent to apply ex parte for leave to participate in this matter and attend the March
                                    4   26, 2020 conference. A true and correct copy of that letter is attached hereto as
                                    5   Exhibit “1.”
                                    6         4.      At the time of this filing, counsel for Plaintiffs have notified me that
                                    7   she will not be filing an opposition. No other parties have communicated their
                                    8   intentions.
                                    9         I declare under penalty of perjury under the laws of the state of California
                                   10   that the foregoing is true and correct.
                                   11         Executed this 25th day of March 2019, at Rolling Hills Estates, California.
                                   12
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                   13
         Jeff Lewis Law




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                                                                                  _____________________________
                                                                                       s/ Jeffrey Lewis
                                                                                       Jeffrey Lewis
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                                                                           DECLARATION
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                               Exhibit 1
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  March 25, 2020

  VIA E-MAIL ONLY

   Elizabeth Anne Mitchell, Esq.     Mary Wickham, Esq.                  Scott D, Marcus, Esq.
   SPERTUS LANDES                    LA COUNTY ATTORNEY                  LA CITY ATTORNEY
   617 West 7th Street, Ste. 200     Hahn Hall of Administration         City Hall East
   Los Angeles, CA 90017             500 W. Temple St. Rm. 648           200 North Main St. Rm. 675
                                     Los Angeles, CA 90017               Los Angeles, CA 90012

  RE:    LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.
         U.S. Central District Court Case No. 20-CV-02291-DOC-KES

  Ms. Mitchell, Mr. Marcus and Ms. Wickham,

  I am litigation counsel for Venice Stakeholders Association (“VSA.”) VSA, founded in 2009, is a
  nonprofit organization dedicated to civic improvement. The VSA supports slow growth, the limits
  of the Venice Local Coastal Specific Plan, neighborhood safety, better traffic circulation, increased
  parking for residents, neighborhood beautification projects, historic preservation, habitat restoration
  and protection of coastal waters.

  Representing residents in the Venice district of the City of Los Angeles, California, the VSA has
  grappled with the horrendous impact of the increase of the homeless population in Venice from
  approximately 400 persons in 2014 to 1,100 persons now, as documented by the Los Angeles
  Homeless Services Authority’s annual homeless count.
  The VSA provides research, education, advocacy and litigation support for Venice Beach residents to
  ensure that their voices are heard. VSA is presently in litigation against the City of Los Angeles, the
  California Coastal Commission and the Los Angeles County Metropolitan Transportation Authority
  over the erection of a 154-bed homeless shelter complex in violation of the California Environmental
  Quality Act, VSA v. City of Los Angeles, Case No. 19STCP00044 and VSA v. Los Angeles County
  Metropolitan Transportation Authority, Case No. 19STCP00629.
  Later today, VSA intends to file an ex parte application for leave to participate in the case as an
  amicus curae party. Pursuant to Local Rule 7-19, I am requesting that you let me know whether your
  office will oppose the application.

                                                  Very truly yours,




                                                  Jeffrey Lewis
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                                    1
                                                                     PROOF OF SERVICE
                                    2            LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.
                                                  U.S. Central District Court Case No. 20-CV-02291-DOC-KES
                                    3
                                              I, Jason R. Ebbens, declare that I am over the age of 18 years, employed in
                                    4
                                        the County of Los Angeles, and not a party to the within action; my business
                                    5   address is 609 Deep Valley Drive, Suite 200, Rolling Hills Estates, CA 90274.

                                    6          On March 25, 2020, I served the foregoing: DECLARATION OF
                                        JEFFREY LEWIS ON BEHALF OF PROPOSED AMICUS CURAE on the
                                    7   interested parties in this action by placing ¨ the original x a true copy thereof,
                                    8   enclosed in a sealed envelope with postage pre-paid, addressed as follows:

                                    9                             * See Attached Service List *
                                   10         BY ELECTRONIC MAIL. I personally transmitted to the person(s) named in
                                              the attached service list who has/have previously consented in writing to
                                   11
                                              receive documents via electronic mail to the e-mail address(es) shown on the
                                   12         service list, delivered on the date listed below, originating from an electronic
                                              e-mail address affiliated with Jeff Lewis Law. A true and correct copy of the
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                   13         above-described document(s) was transmitted by electronic transmission
                                              through the Jeff Lewis Law mail server, which did not report any error in
         Jeff Lewis Law




                                   14         sending the transmission
                                   15
                                              (STATE) I declare under penalty of perjury under the laws of the State of
                                   16         California that the foregoing is true and correct.
                                   17         Executed on March 25, 2020, in Rolling Hills Estates, California.
                                   18

                                   19                                               s/ Jason R. Ebbens
                                                                               _____________________________
                                                                                    Jason R. Ebbens
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                                   13
                                                                                     Harry Tashdjian
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                                   15                                                Joseph Burk
                                   16                                                Karyn Pinsky
                                   17
                                                                                     Leandro Suarez
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                                   27   Jessica Mariani, Esq.
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                                                                         DECLARATION
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